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   Counsel for Plaintiff
 7

 8                               UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10 UNITED STATES OF AMERICA,                         )
                                                     )
11                        Plaintiff,                 )
                                                     )
12          v.                                       ) 2:14-CR-053-GMN-(CWH)
                                                     )
13 WILLARD P. WITHAM, SR.,                           )
                                                     )
14                        Defendant.                 )
15   MOTION
      MOTIONFOR ENTRY
              FOR ENTRYOFOF
                          AMENDED   FINALOF
                            FINAL ORDER   ORDER OF FORFEITURE
                                            FORFEITURE        AS TO WILLARD
                                                       AS TO WILLARD P.
                    P. WITHAM, SR., NUNC PRO TUNC AND ORDER
                   WITHAM,   SR., NUNC PRO TUNC AND ORDER
16

17          The United States of America (“United States”), by and through its attorneys, Daniel G.
18 Bogden, United States Attorney for the District of Nevada, and Daniel D. Hollingsworth, Assistant

19 United States Attorney, respectfully moves this Court to replace the Final Order of Forfeiture as to

20 Willard P. Witham, Sr., (ECF No. 81) with the attached Final Order of Forfeiture as to Willard P.

21 Witham, Sr., nunc pro tunc due to typographical errors.

22          On December 18, 2014, a Final Order of Forfeiture as to Willard P. Witham, Sr., (ECF No.
23 81) was filed.

24          The Final Order of Forfeiture as to Willard P. Witham, Sr., failed to include the Amended
25 Preliminary Order of Forfeiture and its entry date. The Amended Preliminary Order of Forfeiture

26 (ECF No. 48) removed asset number 8, One (1) 2003 black Chevrolet pick-up truck, VIN:
         Case 2:14-cr-00053-GMN-DJA            Document 87        Filed 01/02/15     Page 2 of 4




 1 2ECEK19N731288886, license plate number 042 LDH, which was returned by Las Vegas Police

 2 Department.

 3          Based on the foregoing, this Court should replace the Final Order of Forfeiture as to Willard

 4 P. Witham, Sr., (ECF No. 81) nunc pro tunc.

 5          The minor changes in the nunc pro tunc Final Order of Forfeiture as to Willard P. Witham,

 6 Sr., is the following:

 7                 A.       On page 1, line 14, change the date from June 24 to July 10;

 8                 B.       On page 1, line 14, change “a Preliminary” to “an Amended Preliminary”;

 9                 C.       On Page 1, line 19, add “Amended” before Preliminary;

10                 D.       On page 1, line 20, change ECF No. 43 to 48;

11                 E.       On page 1, line 25, add “Amended” before Preliminary;

12                 F.       On page 1, line 25, change ECF No. 43 to 48; and

13                 G.       Remove on page 2, lines 11 and 12, of the Final Order of Forfeiture as to

14                          Willard P. Witham, Sr. asset number 8: One (1) 2003 black Chevrolet pick-up

15                          truck, VIN: 2ECEK19N731288886, license plate number 042 LDH.

16          Based on the foregoing, this Court should replace the Final Order of Forfeiture as to Willard

17 P. Witham, Sr., (ECF No. 81) with the Final Order of Forfeiture as to Willard P. Witham, Sr., nunc

18 pro tunc.

19          DATED this 18th day of December, 2014.

20                                                               Respectfully submitted,

21   IT IS SO ORDERED.                                           DANIEL G. BOGDEN
                                                                 United States Attorney
22
                                                                  /s/ Daniel D. Hollingsworth
23   _____________________________                               DANIEL D. HOLLINGSWORTH
                                                                 Assistant United States Attorney
24   Gloria M. Navarro, Chief Judge
     United States District Court   IT IS SO ORDERED:
25

26   DATED: 01/02/2015
                                                  UNITED STATES DISTRICT JUDGE

                                                  DATED:

                                                       2
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 5

 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                         Plaintiff,                )
                                                     )
10          v.                                       ) 2:14-CR-053-GMN-(CWH)
                                                     )
11 WILLARD P. WITHAM, SR.,                           )
                                                     )
12                         Defendant.                )
13         AMENDED FINAL ORDER
             FINAL ORDER        OF FORFEITURE
                          OF FORFEITURE       AS TO WILLARD
                                        AS TO WILLARD       P. WITHAM,
                                                      P. WITHAM, SR.   SR.

14           On July 10, 2014, this Court entered an Amended Preliminary Order of Forfeiture pursuant to

15 Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 924(d)(1) and (2)(C) and

16 Title 28, United States Code, Section 2461(c); Title 21, United States Code, Section 853(a)(1) and

17 (a)(2); and Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section

18 2461(c) forfeiting property of defendant WILLARD P. WITHAM, SR., to the United States of

19 America. Indictment, ECF No. 11; Change of Plea, ECF No. 41; Plea Agreement, ECF No. 42;

20 Amended Preliminary Order of Forfeiture, ECF No. 48.

21           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, pursuant to Fed. R. Crim. P

22 32.2(b)(4)(A) and (B); Title 18, United States Code, Section 924(d)(1), (2)(C), (3)(B), and (3)(C) and

23 Title 28, United States Code, Section 2461(c); Title 21, United States Code, Section 853(a)(1) and

24 (a)(2); and Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section

25 2461(c), that the Amended Preliminary Order of Forfeiture (ECF No. 48), listing the following assets,

26 is final as to defendant WILLARD P. WITHAM, SR.,:
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 1     1. one (1) Taurus .38 caliber revolver bearing manufacturer’s serial number LC40499;

 2     2. one (1) Taurus model PT 740 .40 caliber semi-automatic handgun bearing manufacturer’s

 3         serial number SDT94901;

 4     3. one (1) Kel-Tec model PF-9 9 millimeter semi-automatic handgun bearing manufacturer’s

 5         serial number S3Y89;

 6     4. one (1) Smith & Wesson model SD40VE .40 caliber semi-automatic handgun bearing

 7         manufacturer’s serial number HED2760;

 8     5. and all ammunition

 9     6. $290.00 in United States Currency;

10     7. $2,810.00 in United States Currency; and

11     8. An in personam criminal forfeiture money judgment of $14,570 in United States

12         Currency.

13     DATEDthis
       DATED  this___
                   2nd  day
                      day of of January,2014.
                             December,   2015.
14

15
                                                     ________________________________
16                                             Gloria
                                          UNITED      M. Navarro,
                                                 STATES  DISTRICT Chief
                                                                   JUDGEJudge
17                                                   United States District Court

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